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  8                       UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10
      SCOTT LEE TAYLOR,                       ) Case No.: 2:23-cv-10293-SHK
 11                                           )
                  Plaintiff,                  ) {PROPOSED} ORDER AWARDING
 12                                           ) EQUAL ACCESS TO JUSTICE ACT
            vs.                               ) ATTORNEY FEES AND EXPENSES
 13                                           ) PURSUANT TO 28 U.S.C. § 2412(d)
      MARTIN O'MALLEY,                        ) AND COSTS PURSUANT TO 28
 14   Commissioner of Social Security,        ) U.S.C. § 1920
                                              )
 15               Defendant                   )
                                              )
 16                                           )
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal
 18   Access to Justice Act Fees, Costs, and Expenses:
 19         IT IS ORDERED that fees and expenses in the amount of $7,951.00 as
 20   authorized by 28 U.S.C. § 2412, and costs in the amount of $405.00 as authorized
 21   by 28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.
 22   DATE: 6/21/2024
 23                            ___________________________________
 24                            HONORABLE SHASHI H. KEWALRAMANI
                               UNITED STATES MAGISTRATE JUDGE
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